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                            VIRGIN ISLANDS DEPARTMENT OF JUSTICE
                                              OFFICE OF THE ATTORNEY GENERAL

BY EMAIL
Third Circuit Court of Appeals
601 Market St. Ste 18614
Philadelphia, PA 19106

RE: Apex Construction Co. Inc., et al. v. United States Virgin Islands, 22-2675. Citation of
supplemental authorities pursuant to Rule 28(j) of the Federal Rules of Appellate Procedure

Dear Honorable Judges Restrepo, McKee and Smith:

       Pursuant to this Court’s Order dated May 10, 2023, directing the parties to provide
responses to opposing parties’ Rule 28(j) letters addressing whether the tax comity doctrine should
apply when seeking monetary relief, Appellee submits this letter under Fed R. App. P. 28(j):

Response

        Appellants’ Rule 28(j) letter provides no authority precluding application of the tax comity
doctrine when seeking monetary relief. In fact, they concede that “while the comity doctrine has
historically concerned claims for equitable relief in the federal courts, the Supreme Court has held
that it can also apply to claims for damages.” Appellants’ Rule 28(j) letter at 1 (citing Fair
Assessment in Real Estate Ass’n v. McNary, 454 U.S. 100 (1981)). Appellants attempt to
distinguish their claims for monetary relief from those in Fair Assessment and Z & R Cab, LLC v.
Philadelphia Parking Auth., 616 Fed. Appx. 527 (3d Cir. 2015) by noting that their cause of action
arises under local law rather than federal law. However, Appellants provide no authority or
rationale for making any such distinction. Further, as the USVI noted in its Rule 28(j) letter, the
fact that Appellants’ cause of action arises from local law provides even more reason to apply tax
comity given this Court’s precedent counseling in favor of abstention when local law creates the
cause of action for a plaintiff’s tax suit. Compare Club Comanche, Inc. v. Gov’t of the V.I., 278
F.3d 250, 260 (3d Cir. 2002) (holding the District Court lacked federal question jurisdiction over
a quiet title action arising under local law), with Bluebeard’s Castle v. Government of the Virgin
Islands, 321 F.3d 397, 402 (3d Cir. 2003) (holding Plaintiff had adequately alleged a violation
under federal law 48 U.S.C. § 1401a).

       Concerning the USVI’s citation to 33 V.I.C. § 1102 for the contention that more than one
potential remedy is available, Appellants are correct that the statute speaks of the authority of the
Director of the Virgin Islands Bureau of Internal Revenue to issue a forward-looking credit, not
the Superior Court. However, the Superior Court also has that authority under the same local law

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that provides Appellants’ cause of action. See 33 V.I.C. § 1692(c). Concerning Appellants’
substantive rebuttal to the USVI’s contention that comity may be particularly important where
monetary relief would “deplete a State’s treasury,” Appellants’ claim that they are similarly
situated to the plaintiffs in Hibbs v. Winn, 542 U.S. 88 (2004) is unfounded. As the Court in Levin
v. Commerce Energy, Inc., 560 U.S. 413 (2010) explained, the plaintiffs in Hibbs were third-party
challengers to an allegedly unconstitutional tax credit; they did not seek to challenge their own tax
liability or improve their own competitive position. Conversely, Appellants here are not third-
party challengers. They are instead just like the plaintiffs in Fair Assessment, Z & R Cab, and Club
Comanche in that they seek a refund of their own tax liability. That distinction was of key
importance in Levin, and it led the Court to overturn the Sixth Circuit’s decision improperly
restricting comity’s compass.1

Conclusion

        Appellants’ arguments are internally contradictory. According to Appellants, a federal
question exists for purposes of standing but not for purposes of the merits of their constitutional
claims. According to Appellants, there is no such thing as horizontal stare decisis, but the District
Court should have treated their cases as it did the plaintiff’s in Reefco I. According to Appellants,
the USVI should have been precluded from arguing tax comity applies even though this Court
clearly left its application to the USVI an open question in Reefco II. According to Appellants,
the District Court erred in dismissing their cases on tax comity grounds despite not identifying a
single legal error or abuse of discretion warranting reversal. This Court should reject each of
Appellants arguments and affirm the District Court’s application of tax comity to dismiss
Appellants’ local excise tax refund claims.

                                                                      Respectfully submitted,


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  Concerning Appellants’ suggestion that it was improper for the USVI to cite to the syllabus in Levin, the
USVI would simply note that the case Appellants cited in support concerned citation to a “headnote,” not
a syllabus, and the USVI provided further citation to the Levin Court’s “Opinion” for the exact same
proposition put another way in its very next sentence. See U.S. v. Detroit Timber & Lumber Co., 200 U.S.
321, 337 (1906); GVI Rule 28(j) letter at 4. Also, as the American Bar Association’s guidance on “How to
Read a U.S. Supreme Court Opinion” makes clear, the syllabus is, in fact, “added by the Court to help the
reader better understand the case and the decision.” American Bar Association, “How to Read a U.S.
Supreme Court Opinion” (May 4, 2022), https://www.americanbar.org/groups/public_education/
publications/teaching-legal-docs/how-to-read-a-u-s-supreme-court-opinion/ (last visited May 17, 2023).
That explains why general case citations refer to the first page of the “Syllabus” when one is provided. E.g.,
Levin v. Commerce Energy, Inc., 560 U.S. 413 (2010) (Emphasis added).
